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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


                                                       )
AMERICAN RIVERS, et al.,                               )
                                                       )
         Plaintiffs,                                   )
                                                       )
        v.                                             )      Case 1:21-cv-00097-DLF
                                                       )      Assigned Judge: Dabney L. Friedrich
U.S. ENVIRONMENTAL PROTECTION                          )
AGENCY, et al.,                                        )
                                                       )
        Defendants,                                    )
                                                       )
        and                                            )
                                                       )
BOARD OF MISSISSIPPI LEVEE                             )
COMMISSIONERS,                                         )
                                                       )
        Intervenor-Defendant                           )
                                                       )

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs American Rivers et al. hereby notify

the Court and the parties that all claims in this case are dismissed without prejudice.


                                              Respectfully submitted,


Dated: November 19, 2021                      /s/ Anna Sewell
                                              Anna Sewell (D.C. Bar No. 241861)
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                                              Local Counsel for Plaintiffs American Rivers,
                                              National Audubon Society, Sierra Club, and
                                              Healthy Gulf
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                           /s/ Stuart C. Gillespie
                           Stuart C. Gillespie (CO Bar No. 42861)
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                           /s/ Jill Heaps
                           Jill Heaps (NY Bar No. 4145405)
                           (pro hac vice pending)

                           /s/ Sharmeen Morrison
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                           Counsel for Plaintiffs American Rivers, National
                           Audubon Society, Sierra Club, and Healthy Gulf




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                                 CERTIFICATE OF SERVICE

    I, Anna Sewell, certify that on this 19th day of November, 2021, I electronically filed the

foregoing NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE through the

Court’s CM/ECF system which caused all counsel to be served by electronic means, as more

fully reflected on the Notice of Electronic Filing.


Dated: November 19, 2021                              /s/ Anna Sewell
                                                      Anna Sewell (D.C. Bar No. 241861)
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                                                      Club, and Healthy Gulf




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